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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

SETH CRAWFORD                             §
       Plaintiff,                         §
                                          §
V.                                        §         CIVIL ACTION NO. 4:16-cv-986
                                          §
                                          §
STATE FARM LLOYDS                         §
       Defendant.                         §                                JURY

          DEFENDANT STATE FARM LLOYDS’ NOTICE OF REMOVAL



         Defendant State Farm Lloyds (“SF Lloyds” or “Defendant”) files this Notice of

Removal Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 as follows:

                                I. Procedural Background

1.       On September 28, 2016, Seth Crawford (“Plaintiff”) filed his Original Petition

and initiated an action against SF Lloyds in the 29th Judicial District Court of Palo Pinto

County, Texas bearing Cause No. C47341. Exhibit B. There was a jury demand in the

State Court Action. Id.

2.       Service on SF Lloyds occurred on October 5, 2016.

3.       This Notice of Removal is filed within the 30-day statutory time period for

removal, 28 U.S.C. §1446(b).



                                      II. Nature of Suit

4.       This lawsuit involves and insurance coverage dispute regarding alleged damage to

Plaintiff’s residence and property located at 1009 Mesquite Ridge, Graford, Texas 76449

arising out of an alleged act of vandalism on or about August 9, 2016 and subsequent

water damage that occurred thereafter. State Farm initiated an investigation of the claim


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and, to date, has paid the Plaintiff $24,447.05 for his damages. Plaintiff now brings suit

against SF Lloyds for breach of an insurance contract, breach of the duty of good faith

and fair dealing, violations of the Texas Insurance Code, and fraud. Exhibit B.

                                     III. Basis for Removal

5.        This Court has original jurisdiction under 28 U.S.C. § 1332 over this civil action,

and the action may be removed by SF Lloyds pursuant to 28 U.S.C. § 1441(b), as it is a

civil action between citizens of different states, and the matter in controversy exceeds the

sum of $75,000.00, exclusive of interest and costs.

6.        Upon information and belief, Plaintiff was, at the time this action was

commenced, and still is a citizen of the State of Texas. Plaintiff’s Original Petition states

that Plaintiff is a resident of Texas. Exhibit B.

7.        Defendant SF Lloyd’s was, at the time this civil action was commenced, and still

is, a citizen of the state of Illinois. SF Lloyd’s is a “Lloyd’s Plan” organized under

Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters

who, at the time this civil action was commenced, were, and still are, citizens and

residents of the state of Illinois, making SF Lloyds a citizen and resident of the state of

Illinois for diversity purposes.1

8.        Plaintiff’s Original Petition states that he sustained over $160,000 in property

damage and approximately $181,112 in personal property damage. Plaintiff’s Original

Petition also specifically states in section II that Plaintiff is seeking monetary relief in an

amount over $1,000,000. When a plaintiff’s pleadings do not allege a specific amount of

total damages, the removing party defendant must only prove by a preponderance of the




1
    See Royal Ins. Co. of Am. v. Quinn-L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993).


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evidence that the amount in controversy exceeds $75,000.002. Given the Plaintiff’s

statement of seeking monetary relief in an amount over $1,000,000, the alleged damages

in this action appear to clearly exceed $75,000.00, exclusive of interest and costs.3

9.       Because the amount in controversy exceeds $75,000.00, this Court has subject

matter jurisdiction under 28 U.S.C. § 1332 and this removal action is proper.

10.      Pursuant to 28 U.S.C. § 1446(a), Defendant has filed with this Notice of Removal

a complete copy of the State Court’s file, including copies of all process, pleadings,

orders and docket sheet in the State Court Action as identified on the Index of Matters

Being Filed. Exhibit B.

11.      Pursuant to 28 U.S.C. § 1446(d), Defendant has filed a copy of this Notice of

Removal with the clerk of court in the State Court Action, and has given notice thereof to

all adverse parties.

                                IV. Conclusion and Prayer

12.      The basis for this removal and this Court’s jurisdiction is diversity of citizenship.

28 U.S.C. § 1332. Plaintiff is a citizen of Texas. Defendant is a citizen of Illinois. The

amount in controversy, based on the allegations in Plaintiff’s Original Petition, exceeds

$75,000.00, exclusive of interest and costs. As such, this removal action is proper. On

these grounds, Defendant hereby removes the referenced State Court Action to this Court.

13.      Plaintiff has previously demanded a jury in this State Court Action and Defendant

also demands a jury in this action.




2
  See DeAguilar v. Boeing Co., 11 F.3d 55, 58 (5th Cir. 1993); Chittick v. Farmers Ins.
Exch., 844 F. Supp. 1153, 1155 (S.D. Tex. 1994).
3
  See Chittick v. Farmers Ins. Exch., 844 F. Supp. 1153, 1155 (S.D. Tex. 1994).


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       WHEREFORE, Defendant State Farm Lloyds requests that the above-entitled

action be removed from the 29th Judicial District Court of Palo Pinto County, Texas to

the United States District Court for the Northern District of Texas, Fort Worth Division.

                                                 Respectfully submitted,

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                                                   /s/ Mike Thompson, Jr.

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                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been
sent by in accordance with the Federal Rules of Civil Procedure, to following counsel of
record via:

        Hand Delivery;
X       Facsimile
        Certified Mail, Return Receipt Requested
        Receipted Commercial Delivery
X       Electronically Filed
X       Electronically Served

on the 21st day of October 2016.

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